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                                                                                          FILED INCL -RK1SOFFICE
                                   PRISONER CIVIL RIGHTS COMPLAINT                            U.S.D.C. Atlanta

                            IN THE UNITED STATES DISTRICT COURT                              AUG 22 2023
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                         I KEVIN P. WEIMER, Clerk
                                                                                         .er- ·~
 Sa0l ue_ { l °' w,e.n c.e(~ tO \IJi tr9)
(Enter above the full name and prisoner
identification number of the plaintiff, GDC
number if a state prisoner.)

                            -vs-                                                ~23 CV-3 77'
Fu [ton Courtb Jo.;l
(Enter above the full name of the defendant(s).)


                                                   NOTICE

 Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
 public access to electronic court files. Under this rule, papers filed with the Court should not
 contain: an individual ' s full social security number or full birth date; the full name of a person
 known to be a minor; or a complete financial account number. A filing may include only: the last
 four digits of a social security number; the year of an individual ' s birth; a minor's initials; and the
 last four digits of a financial account number.


 I.        Previous Lawsuits
           A.    Have you filed other lawsuits in federal court while incarcerated in any institution?

                                     Yes (   )     No (       )

           B.        If your answer to A is yes, describe each lawsuit in the space below. (lfthere is more
                     than one lawsuit, describe the additional lawsuits on another piece of paper, using
                     the same outline. Even if you do not know all of the information regarding a
                     particular lawsuit, please include the information you do know to assist the Court in
                     identifying your prior iawsuits.)

                     1.     Parties to this previous lawsuit:

                            Plaintiff(s):




                                                          1
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                           Defendant(s):   :,f\-\-V\-en s-clo(l<e. CO~V\1:~ J0--1 l

                    2.     Cou& '}ame the district):
                          /0.-1 · o I e.. 0 ist,t c..+

                    3.     Docket Number:          NlA-
                    4.     Name of judge to whom case was assigned:      __{_A______ _ _
                                                                         N
                    5.     Did the previous case involve the same facts?

                                                  No (        )

                    6.




                    7.                                                    ______ _____
                           Approximate date of filing lawsuit: '/-'/_l=-c.A

                    8.     Approximate date of disposition:           Nllt-
II.        Exhaustion of Available Administrative Remedies
           In general, prisoners must exhaust available administrative remedies (such as the prison ' s
           grievance procedures) before filing an action in federal court. 42 U.S .C. § l 997e(a). Your case
           may be dismissed if you have not exhausted your available administrative remedies before
           filing your case.

           A.       Place of Present Confinement:

           B.       Is there a prisoner grievance procedure in this institution?

                                                   No (       )

           C.       Did you present the facts relating to your complaint under the institution ' s grievance
                    procedure?

                                                   No (           )

           D.       If your answer is YES:
                    I.                  ·         ke a d what were the re




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                    2.     If your answer is NO, explain why not:



III.      Parties
          (In item A below, place your name in the first blank and place your present address in the
          second blank.)

          A.        Name of Plaintiff:   So.Mt1.e/ L0-t.vfe11C ~




          (In item B below, place the full name of the defendant in the first blank, his/her official
          position in the second blank, and his/her place of employment in the third blank. Do the
          same for each additional defendant, if any.)


          B.        [ken~~y~~ 2Z;~t;1-i)::;) ~~~ioiff:
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                    at   pJ-tDn CoufLfJ ~ Cl
IV.        Basis for Jurisdiction
           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any
           rights, privileges, or immunities secured by the Constitution and [federal laws]. " Under
           Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971),
           you may sue federal officials for the violation of certain constitutional rights.

           A.       Are you bringing suit against (check all that apply):

                    ( I Federal official (a Bivens claim)
                    (.J') State or local officials (a§ 1983 claim)



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           B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
                     immunities secured by the Constitution and [federal laws]." 42 U.S .C. § 1983. If
                     you are suing under section 1983, what federal constitutional or statutory right(s) do
                            · ·        ·     ·                 local officials?
                     ±-'-:'~~.=::::-'='~~->f--h -r'-::+:i=---,;:----r.'--=~.. .....--~...l.+,-i~'irt-,;;---1 -S @




           C.        Plaintiffs suing under Bivens may only recover for the violation of certain
                     constitutional rights. If you are suing under Bivens, what constitutional right(s) do
                     you claim is/are being violated by federal officials?




V.         Prisoner Status
           Indicate whether you are a prisoner or other confined person as follows (check all that
           apply):

           t   J> Pretrial detainee
           ( ) Immigration detainee
           t ) Convicted and sentenced state prisoner
           t ) Convicted and sentenced federal prisoner
           ( ) Other (explain)

VI.        Statement of Claim
           State here as briefly as possible the facts of your case. Tell the court WHAT you contend
           happened to you, WHEN the incident(s) you complain about occurred, WHERE the
           incident(s) took place, HOW your constitutional rights were violated, and WHO violated
           them. Do not give any legal arguments or cite any cases or statutes. If you intend to allege
           a number ofrelated claims, number and set forth each claim in a separate paragraph. (Use as




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VII.      Injuries
          If you sustained injuries related to the events alleged above, describe your injuries and state
                        .                   .                      .             .        .              .


VIII. Relief
      State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite
      no cases or statutes. If requesting money damages, include the amounts of any actual and/or
       unitive d ma es claimed for the acts al e ed. ExpJain the basis for these claims.                                                    l'(_
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                                                                                                                                                                        ; Sc\~f folt)




          Signed this         _l 7_ _ day of A-4...'J lA. &+-                                                                           ,20 ~~
                                                                                                      ~                                                                     -
                                                                                                     Signature of Plaintiff

STATE OF             G/t- A-~- - -
COUNTY(C_I_T-Y)_O_F~A+~l-~-

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON                     t-l7-J.J
                                     (Date)

~~-
Signature of Plaintiff




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Requirements for Case Filings:

1.       Must file the original document with the Court. If a party desires extra copies stamped
         "filed" and returned, the party must provide those copies and a self-addressed, stamped
         envelope.

2.       All filings must be typed or handwritten on 8 ½ x 11-inch letter-sized paper, double-
         spaced, including attachments and exhibits.

3.       Discovery documents (interrogatories, requests for documents, requests for admissions, and
         responses thereto) must be served upon the opposing party or parties but generally should
         not be filed with the Court. However, a certificate indicating the date of service of discovery
         material must be filed with the Clerk as required by Local Rule 26.3(A).

DOCUMENTS NOT MEETING THESE REQUIREMENTS WILL BE REJECTED AND
RETURNED BY THE CLERK.

Disclaimer: This information is provided as a service to the public. While the information
deals with legal issues, it does not constitute legal advice. Due to the rapidly changing
nature of the law and court procedures, we rely on some information provided by outside
sources. Although we make every effort to ensure the information is correct, the Clerk's
Office does not warranty or guarantee the accuracy of the information provided. If you have
specific legal questions or concerns, we encourage you to consult an attorney who can
address and advise you on the particular circumstances of your situation. In no event will
the Clerk's Office be liable to any party in any way relating to the availability, use, reliance
on, or inability to use the provided information or forms or for any claim attributable to errors,
omissions, or other inaccuracies in any information provided.




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                          PRISONER'S GUIDE TO FILING A CIVIL CASE IN
                           THE UNITED STATES DISTRICT COURT FOR
                             THE NORTHERN DISTRICT OF' GEORGIA



    Types of Civil Suits:



              42 U.S.C. § 1983:    Action against a person who has acted under color of state law such
                                   as a state official or employee for violation of plaintiff's federal
                                   constitutional rights.

              Bivens:              Action against a person who has acted under color of federal law such
                                   as a federal official or employee for violation of plaintiffs federal
                                   constitutional rights.

              28 U .S.C. § 1361:   Action in the nature of mandamus to compel an officer of the United
                                   States to perform his or her duty.

              28 U.S.C. § 1331:    Federal question jurisdiction. An action which involves a federal
                                   statutory or constitutional question.

              28 U.S.C. § 1332:    Diversity jurisdiction. The plaintiff must be a citizen of a different
                                   state than all of the defendants, and the matter in controversy must
                                   exceed the sum or value of $75,000.00.

    How to File a Civil Rights Action:

              42 u.s.c. § 1983
              and Bivens:           Must be filed on a civil rights complaint form available from the
                                    Office of the Clerk of Court.

                                    NOTE: A prisoner may not file a § 1983 or Bivens action in this Court
                                    until available administrative remedies have been exhausted. 42 U.S.C.
                                    § 1997e(a).

             All Other Civil Suits
             (including 28 U.S.C.
             § 1332):              No forms are available. Plaintiff must draft his/her own complaint,
                                   which must include: (1) the name and address of the plaintiff, (2) the
                                   name and address of the defendant(s), (3) a brief statement of legal
                                   claims, (4) a clear and concise statement of the specific facts involved,
                                   (5) a statement of relief being sought, and (6) a statement of basis for
                                   federal court jurisdiction. LEGAL AUTHORITIES AND CTTATIO NS

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3.       A signed authorization allowing the plaintiffs custodian to withdraw funds from his inmate
         account. 28 U.S.C. § 1915(a)(2).

Drafting Pleadings:

All pleadings must be typed or legibly hand-printed and double spaced. No single spacing is
allowed. All pleadings must be on standard 8 ½ x I I-inch letter-sized paper. Any document,
including attachments, submitted on paper exceeding this size will be returned. Any false statement
of a material fact may serve as the basis for prosecution and conviction for perjury. All questions
must be answered concisely in the proper space on the form.

Consent to Jurisdiction by a United States Magistrate Judge:

After a case is opened, all parties will receive a Consent to Jurisdiction by a United States Magistrate
Judge form. Please read and follow the instructions on the back of the form. NOTE: This form
should be returned to the Clerk of the Court only upon consent of ALL of the parties. If you desire
to have your case tried before a United States Magistrate Judge, you should sign the form and forward
it to the defendant(s) for consideration.

After a Case is Filed and Docketed:

All civil complaints must be answered by the defendant(s) within 21 days from the date of service
(60 days for United States defendants and for defendants who have timely waived service) or
responded to by appropriate motion, including motions to dismiss or motions for summary
judgment. (Responses to motions must be filed within 14 days, 21 days for summary judgment
motions.) If a defendant timely files a motion to dismiss or for summary judgment in lieu of an
answer, the defendant's answer is not due until 14 days after the court denies the motion. Discovery
begins 30 days after the appearance of the first defendant by answer to the complaint unless the
court orders otherwise following the grant of a properly filed motion for discovery. Local Rule
26.2 & Appx. F. It is during the discovery period that the plaintiff may request from the
defendant(s) any relevant information necessary to his/her case. See Rules 26-37 of the Federal
Rules of Civil Procedure for methods and rules of discovery. Civil trials are held after expiration
of the discovery period and after the court rules on any summary judgment motions.


Where to File Pleadings:

Do NOT send papers concerning your case directly to the judge. The complaint and other
pleadings must be delivered or mailed to:

                                Office of the Clerk
                                2211 U.S. Courthouse
                                75 Ted Turner Drive, S.W.
                                Atlanta, GA 30303-3361


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   INSTRUCTIONS FOR FILING A CIVIL RIGHTS COMPLAINT BY PRISONERS

           Pursuant to the Civil Rights Act, 42 U.S.C. § 1983, against state officials

                                            AND/OR

  Pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403
                U.S. 388 (1971), 28 U.S.C. § 1331, against federal officials

        To start an action you must file an original prisoner civil rights complaint with the Court.
A form complaint is available on the Court's website or from the Clerk of Court. You should
also keep an additional copy of the complaint for your own records. All copies of the complaint
must be identical to the original, including any attachments or exhibits.

        The Clerk will NOT file your complaint if it does not conform to these instructions and to
these forms.

       Your complaint must be typed or legibly HAND PRINTED on the attached form. If you
need additional space to answer a question, you may use additional blank paper with no less than
2 spaces between lines; no single spacing is allowed. Local Court Rules require that all
pleadings, including attachments, must be on standard 8 ½ x 11-inch letter-sized paper.
Any pleadings submitted on paper exceeding this size will be returned. Extra copies of pleadings
submitted to the Court that you wish to have marked "filed" and returned must be accompanied
by a self-addressed stamped envelope. Pro se inmates may not represent the rights of others
before this Court. Accordingly, only one Plaintiff is permitted to participate in any pro se action .

        Your complaint may be filed in this Court only if one or more of the named defendants is
located within this district. Further, it is necessary for you to file a separate complaint for each
claim that you have unless they are all related to the same incident or issue.

        In order for this complaint to be filed, it must be accompanied by the filing fee of
$402.00. If you are unable to pay the required filing fee, you may request the Court to allow you
to proceed in forma pauperis. A blank affidavit is available from the Court for this purpose. The
original should be filed with the complaint, and you should keep a copy for your own records.

     THIS COMPLAINT SHOULD NOT CONTAIN LEGAL ARGUMENTS OR
CITATIONS; YOU ARE REQUIRED TO GIVE ONLY THE FACTS.

        When these forms are completed, mail the original and copies to :

        Clerk, U.S. District Court
        Northern District of Georgia
        2211 U. S. Courthouse
        75 Ted Turner Drive, S.W.
        Atlanta, Georgia 30303-3361

         You are not required to provide completed Marshal ' s Service forms (USM-285) at the
initial stage of filing your complaint. You will be notified by the Court to provide them at a later
date.
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